Case 2:05-CV-02221-SHI\/|-STA Document 26 Filed 06/27/05 Page 1 of 5 P‘age|D 30

 

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IN THE UNITED sTATES DISTRICT coURT """" J'C"
FOR THE WESTERN DISTRICT OF TENNESSEE 95 JUN 2 7 H ldf 3
WESTERN DIVISION
LOUIS MITCHELL and BETTY )
FOSTER, as parents and next friends )
of DANIEL MITCHELL, deceased, )
)
Plaintiffs, )
)
v. ) NO. 05-2221 Ma/An

)
MARKUS MCNEIL a/k/a MARCUS )
MCNEIL, et al., )
)
Defendants. )

 

RULE 16(b) scHEDULING 0R1)ER

 

Pursuant to the scheduling conference set by written notice, the following dates Were

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): June 30, 2005
JolNING PARTIES: August 15, 2005
AMENDING PLEADINGS: September 15, 2005

COMPLETING ALL DISCOVERY:

(a) FACTUAL DISCOVERY: June 30, 2006
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintist Experts: March 30, 2006
(ii) Defendant’s Experts: May 30, 2006
(iii) Supplementation under Rule 26(e): June 20, 2006
(c) EXPERT DISCOVERY: August 30, 2006
FILING DISPOSITIVE MOTIONS: October 15, 2006

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T‘.~.is document entered on the docket sh e in c p|\ance
with Rule 58 and/or 79{a) FRCP on _U_M_‘

Case 2:05-cV-O2221-SHI\/|-STA Document 26 Filed 06/27/05 Page 2 of 5 Page|D 31

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

 

The trial of this matter is expected to last 5 days. The presiding judge will set this
matter for JURY TRIAL. The trial, pretrial conference, and pretrial order due date will be set
by the presiding judge. ln the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

 

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if` the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave ofthe court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate j udge. The parties Will file a written consent form With the court
should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in could-annexed attorney mediation or private

mediation on or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

Case 2:O5-cV-O2221-SHI\/|-STA Document 26 Filed 06/27/05 Page 3 of 5 Page|D 32

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 2.¢' 2005/-

 

Notice of Distribution

 

June 28, 2005 to the parties listed.

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CV-02221 was distributed by faX, mail, or direct printing on

 

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Case 2:O5-cV-O2221-SHI\/|-STA Document 26 Filed 06/27/05 Page 5 of 5 Page|D 34

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Honorable Samuel Mays
US DISTRICT COURT

